IN TI-IE UNITED STATES DISTRICT COURT

2@::*1: ::?512=5?

FOR TI-IE WESTERN DISTR_ICT OF MISSOURI

WESTERN

 

George N|e|vin Cannon

 

 

(Write ihejall name of each plaintij§”who is filing
this complaint b'z‘he names of all the plaintiffs
cannot fit in the space above, please write “see
attached ” in the space and attach an additional

page with the fall list of names. )

-against-
Robert A. McDonald
See Attached

 

(Wriie the full name of each defendant who is
being sued. 17 the names of all the defendants
cannot fit in the space above, please write “see
attached ” in the space and attach an additional

page with thefle list ofnarnes.)

 

 

DIVISION '_i :¢ - y

Complaint for a Civil Case

CaseNo. /Zlo“é V('UC:)??/ ‘ 654[:

(to be filled in by the Clerk’s Ojj‘ice)

REQUEST FOR TRIAL BY JURY

Plaintit`f requests trial by jury. _!ch g No

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Attached List of Defendants:

General Counsel, St. Louis, Missouri
Vetera;ns Affairs Regional

General Counsel, Oakland, Ca.
Veterans Affairs Regional

General Counsel, Veterans Affairs
Doug Bradshaw

Associate Director, Veterans Affairs
Anthony Hawkins

(Former)Assistant Attomey General
Frank W. Hunger

(Former)The Attomey General
Eric Holder

(Former)ASSistant Attomey General
Stuart F. Delery

Director, Torts, Civil Division
Jeffery Axelrad

Special Agent in charge,

FBI Eric K. Jackson

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The Parties to This Complaint

A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint Attach
additional pages if necded.

Nalne GSOFQE Me|vm Cannon

Street Address

City and County Grandview
Missouri, 64030

816-803-3981

 

13116 Park Hills Dr.

 

State and Zip Codc

 

Telephone Number
E_mai] Address gmelcannon@gmail.com

 

 

B. The Defendant(s)

Provide the information below for each defendant named in the complaint,
Whether the defendant is an individual, a government agency, an organizaticn, or
a colporation. F or an individual defendant, include the person’s job or title (if
known). Attach additional pages if needed.

Defendant No. l

Na.me Robert A, McDonaid

10b OI. Tit]e Secretary of Veterans Ah'airs
(if known)
Street Address

 

 

810 Vermont Avenue ,N.W

 

City and County Washington, D. C.

 

State and Zip Codc 20420

 

 

Telephone Number

E-mail Address
(if known)

 

Det`endant No. 2
Veterans Affairs Regiona| 0fflce

 

 

 

 

Narne
Job or Title Ge"e"af C°ur\sel
(if lcnown)
Street Address gmc Page AVenllF-‘
City and Cmmty St. Louis

2

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Swwamdzwfkde Mwmmd6M32
Telephone Number

E-mail Address
(if known)

 

 

Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only three
types of cases ca11 be heard in federal court. Provide the designated information for this
type of case. (Check all that apply)

F:I sade-ml question

List the specific federal stamtes, federal treaties, and/or provisions of the United States
Constitution that are at issue in this case.
38 U.S.C.§1153, Fifth Amendment, Fourth Amendment and

Pnnr+ppnth Amendment

 

Suit against the Federal Government, a federal official, or a federal agency

 

List the federal oBicials or federal agencies involved, if any.
Department of Veterans Allairs, Washington. D. C.

Veterans Regional Of|‘ice, St. louis. Mo.
Veterans Regiona| thce, Oakland, CA

Department of Justice, Washington, D.C.

:\Diversity of citizenship

These are cases in which a citizen of one State sues a citizen of another State or nation
and the amount at stake is more than $75,000. In a diversity of citizenship case, no
defendant may be a citizen ofdie same State as any plaintiff

A. The Plaillti§`($)
The plaintiff (name) G°°l'ge MBM" Ca“"°“ . is a citizen of the State

O‘f (na)ne) Missoul'i

(If more than one plaintiffs named in the complaint, attach an additional
page providing the same information for each additional plaintif§f)

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B. The Defendant(s)

l. If the defendant is an individual

 

 

 

The defendant, (narne) , is a citizen of
the State Of (narne) . Or is a citizen of
€oreign nation )

2. If the defendant is a corporation
The defendant, (name) , is

 

incorporated under the laws of the State of (name)

, and has its principal place of
business in the State of (naine) . Or is
incorporated under the laws of (foreign nation)

, and has its principal place of

 

business in (name)

 

(Ifmore than one defendant is named in the complaint attach an
additional page providing the same information for each additional
defendant.)

C. The Amount in Controversy

The amount in controversy----the amount the plaintiff(s) claims the
defendant(s) owes or the amount at stake----is more than $75,000, not
counting interest and costs of couit, because (explain):

$15,000,000, this amount was requested on form 95, sent to plaintiff by Frank

 

Hunger, The Asslstant Attomey General, diru (Former)Congress lady, Karen

 

McCarthy. of Missouri

 

l]]. Statement of Claim

Write a short and plain statement of FACTS that support your claim. Do not make legal
arguments You must include the following information: ( gee Attached)

- What happened to you?
- What injuries did you suffer?

- Who was involved in what happened to you?

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Statement of C|aim Attachment

Q-l. What Happen:
A-1. Was diagnosed with a chronic degenerative disease called Osteoarthrltls

A-Z. The history of this diagnosed condition was withheld from every medical official and every
legal review from 1988 to present date. (Stage 4 of disease, willfully minimized.)

A-3. Trave|ed to D.C. with Stage-4 Disease, Requested Deputy Attorney Genera|, Rod
Rosenstein’s consideration of l\/leclical Hardship Review under ADA.

Q-2. What injuries:

A-l. Normal Life- 30 years pain and suffering at, stage -4 of disease (Conditlon has no-cure)
A-2. Career soldier opportunity, taken by disease

A-S. Career as Disab|ed Veteran Representative, taken by disease

A-4. Lost two wives, homes and all material possessions

Q-3. Who was involved:

A-l. Department of Veterans Affairs

A-2. Department of Defense

A-3. Department of lustice

Q-4. How were defendant involved:

A-l. Unanimous decision to maximize power structures of customs, policies and privilege

A-2. Unanimous decision that race should determine which honorable disabled veterans
receive equal rights in America, while receiving bonuses for minimizing entitlements

A-3. Unanimous decision to retaliation for complaining to my congressional representatives in
both houses

Q-5. Where did this take place:

A-l. |V|issouri (Kansas City, St. Louis), California (Oak|and), Nlaryland (Ft. Meade) and
Washington, D. C.

Q-6. When did this all take place:

A-l. From 1986 to present date.

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- Howwu'eihedefmdantsinvolvedinwhmhappenedtoyou?
- Wheredidd:eevmtsyouhavedasoribedtakeplace?
~ Whmdidtheeventsyouhavedeocribedtakeplace?

Ifmomthanoneolaim isassented,nmnbereeohclaim andwriiseashortandplain
statementofeaoh ciaim inaseparate'pamgmph. Auaohadditionalpagm ifneedod.

 

 

 

 

 

 

 

 

 

IV. Relief

State briefly and precisely what damages or other relief you want &om the Com‘t. Do not
make legal arguments

Deframation: False Statements sent to Congressional

 

e Jud e Advogate General and three _
In§gector General Offices, for_years. Labeled Unworthy
Respectfully request "Good Cause" priority

Doyou claimihewrongsallegedinyouroomplaintamoontinuin_gtooa:urattheprwenttime?

 

 

 

 

 

 

 

 

 

l Yes J_ ~ No
Do you claim actual damages for the acts`al]eged in your complaint?
Y NO

 

 

 

Doyouchdnpmidwnnmumuydmmgw§

Yes|T/_ ` NO.

 

 

 

 

 

 

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If you indicated that you claim actuai damages or punitive monetary damaged state the amounts

claimed and the reasons you claim you are entitled to recover these damages
Plaintiff strongly believes 2.5 million, reasonable

 

e'damages for Stage 4 Osteoarthritis suffering from 1988 to
ppresent date. Plaintiff also believes 2.5 million for

punitive damages under abuse of power by government.

V. Certiiieotion and Closing

Under Federal Rule of Civil Procedure II, by signing below, I certify to the best of my
knowledge, information, and belief that this complaint (l) is not being presented for an
improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the
cost of litigation; (2) is supported by existing law or by a nonfrivolous argument for
extending modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specchally so identified, will likely have evidentiary support
alter a reasonable opportunity for iizrther investigation or discovery; and (4) the
complaint otherwise complies with the requirements of Rule l l.

l agree to provide the Clerk’ s OfEce with any changes to my address where case-related
papers may be served. I understand that my failure to keep a current address on tile with
the Clerk’ s Ol:`lice may result in the dismissal of my case.

Dateofsigning: fz‘ll ,20_l_/y
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//1-/ /¢

Signature of Plaintifl`
Printed Name of Plaintiff

 

 

 

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